Case 5:13-cr-00003-ACC-T_S Document 66 Filed 05/15/13 Page 1 of 2 PageID 148




                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        OCALA DIVISION

UNITED STATES OF AMERICA

VS.                                                        CASE NO: 5:13-cr-3-Oc-22TBS

CYRUS J. CUNNINGHAM


          ACCEPTANCE OF GUILTY PLEA AND ADJUDICATION OF GUILT
        Pursuant to the Report and Recommendation of the United States Magistrate Judge

(Doc. No. 62), to which there has been a Notice of No Objection filed by the Government and a

Notice of No Objection filed by the Defendant, the plea of guilty of the defendant to Count Four

of the Indictment is now accepted and the defendant is adjudged guilty of such offense. A

sentencing has been scheduled by separate notice.

        DONE and ORDERED at Orlando, Florida this 15th day of May, 2013.




Copies furnished to:

Counsel of Record
Magistrate Judge
United States Marshals Service
United States Probation Office
Case 5:13-cr-00003-ACC-T_S Document 66 Filed 05/15/13 Page 2 of 2 PageID 149



United States Pretrial Services
